                      IN THE
       Case: 1:23-cv-16101   UNITED
                           Document #:STATES
                                       11 Filed:DISTRICT  COURT
                                                02/05/24 Page 1 of 11 PageID #:34
                     FOR THE NORTHERN DISTRICT OF ILLINOIS


 DASIA DOBBINS,

      Plaintiff,                                         Case No. 23 CV 16101

 v.
                                                         Judge Pallmeyer
 ALLIANT CREDIT UNION, MARIANNA
 SPIZZIRRI, and JAEL CACUCCIOLO
      Defendants.



  FIRST AMNDED COMPLAINT FOR VIOLATIONS OF TITLE VII OF THE CIVIL
   RIGHTS ACT OF 1964 42 U.S.C. SECTION 2000E ET SEQ., 42 U.S.C. SECTION
  1981, ET SEQ., VIOLATIONS OF THE EQUAL PAY ACT, 29 U.S.C. SECTION 206,
  ET SEQ., VIOLATIONS OF THE FAMILY AND MEDICAL LEAVE ACT, TITLE 29
             U.S.C. SECTION 2601 ET SEQ, AND FOR INTENTIONAL
                    INFLICTION OF EMOTIONAL DISTRESS


          Plaintiff, Dasia Dobbins (“Dobbins” or “Plaintiff”), by and through her attorney, Tod

Rottman, of Barrett & Farahany, and for her First Amended Complaint against Alliant Credit Union

(“Allliant”), Marianna Spizzirri (“Spizzirri”), and Jael Caccucciolo (“Caccucciolo”), alleges and

states as follows:

                                                  Introduction

          1.       Plaintiff, Dasia Dobbins, an African American female, was hired by Alliant as a

Collector. Plaintiff was routinely and repeatedly harassed and treated differently than non-black,

male, similarly situated employees. The actions taken against her, included, but were not limited

to, assigning her to undesirable jobs, denial of promotions, and repeated unwarranted discipline,

which was not given to non-black, male employees committing the same acts. Plaintiff was

also paid at a lower rate than males in a similar job position. Plaintiff was retaliated against for taken

a medical leave due to the intentional infliction of emotion distress, anxiety and stress caused by

Defendant. Plaintiff was terminated in violation of violation of the statutes listed below.

          2.       Plaintiff filed a charge of discrimination based on gender and race/color with the

EEOC for violations of Title VII based on gender and race/color in the form of claims of a hostile
work environment, retaliation,Document
     Case: 1:23-cv-16101       and wrongful termination
                                        #: 11           and for violations
                                               Filed: 02/05/24   Page 2 ofof11
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                                                                                 Equal Pay Act and
                                                                                        #:35

Family Medical Leave Act.

                                                    Parties

        3.      Plaintiff is a citizen of the United States and of the State of Illinois who at all

relevant times resided within the territorial jurisdiction of the United States District Court for the

Northern District of Illinois. Plaintiff is an African American female. At all relevant times she

was an employee pursuant to 42 U.S.C. Section 2000e-(f), 29 U.S.C. Section 630(f), and 29 C.F.R.

Section 825.

        4.      Alliant is a corporation that at all relevant times regularly conducted business in

Chicago, Illinois, within the territorial jurisdiction of the United States District Court for the

Northern District of Illinois. During all times relevant hereto, Defendant was a covered employer

pursuant to 42 U.S.C. Section 2000e-(b), 28 U.S.C. Section 630(b), and 29 C.F.R. Section 825.104.

                                                 Jurisdiction


        5.      Plaintiff flied a charge with the United States Equal Employment Opportunity

Commission, on the basis gender and race.

        6.      Plaintiff received a notice of right to sue on this charge on or about August 2 8 ,
2023.

        7.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. S e c t i o n 1331,

 as this claim involves a federal question brought under Title VII, 42 U.S.C. Section 1981, 29 U.S.C.

 Section 621, and 29 U.S.C. Chapter 8, Section 206(d), and 29 C.F.R. Section 825.104. This Court

 has supplemental jurisdiction over the state law claims pled in this action pursuant to 28 U.S.C.

 §1367 because they are part of the same core controversy as those pled under the Federal Statutes.

                                                    Venue

        8.     Venue is proper in this district pursuant to 28 U.S.C. §1391(b) because at all

relevant times, Defendant regularly conducted business in this district, and a substantial part of the

events or omissions giving rise to the claim occurred in this district.



                                                     Facts
     Case: 1:23-cv-16101 Document #: 11 Filed: 02/05/24 Page 3 of 11 PageID #:36
       9.     Plaintiff began working in the Collection Department as a Collector for Defendant

on or about September 16, 2019.

        10.    Soon thereafter, Alliant, through its supervisors Spizzirri and Caccucciolo began

harassing and treating Plaintiff differently based upon her gender and race/color.

        11.    Plaintiff was routinely and repeatedly treatment differently than non-black, male

employees in similar positions.

        Plaintiff denied opportunities for advancement with Alliant

        12.   During Plaintiff’s employment, she worked in the Collections Department.

        13.   Defendant has different department within its organization, with some of the

departments being more desirable to employees than others.


        14.   Alliant denied plaintiff the opportunity to work in various positions with the defendant

including but not limited to the recovery, accounts payable, and quality insurance departments.

        15.   The plaintiff was repeatedly denied the ability to take positions in other departments

that were considered more valuable to alliant.

        16.   The denial of the plaintiff’s ability to change departments affected her upward

mobility in the company and her ability to increase her salary

        17.   Defendant’s actions in limiting and denying Plaintiff the more desirous work

assignments was a tangible employment action effecting Plaintiff’s ability to advance her

employment and her compensation.

        Plaintiff Complained about her being treated differently than non-black, male
        employees
        18.   Plaintiff made internal complaints about the conduct of the Defendant’s supervisors.

        19.   Following her internal complaints, the Defendant’s conduct continued and

worsened.

        Plaintiff was paid less than non-black and male employees

        20.   Plaintiff was paid less than similarly situated non-black employees.

        21.   Plaintiff was paid less that similarly situated male employees.
       22. 1:23-cv-16101
     Case:   Defendants continued
                          Documentdenial
                                    #: 11ofFiled:
                                            Plaintiff’s attempt
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 advance her career, led to her making less that similarly situated non-black, male employees.

         Plaintiff was denied overtime opportinuties

         23.    Defendants denied Plaintiff overtime opportunities by assigning overtime to other

non-black, male employees in the Collections Department adversely effecting her ability to earn

money.

         24.    Defendants denied Plaintiff’s attempt to change to departments that would have

 increased her opportunity for overtime adversely effecting her ability to earn money.

         Plaintiff was wrongfully terminated by Defendant

         25.    Defendant terminated Plaintiff’s employment without justification and in retaliation

 for her internal complaints, based upon her gender and race.

         26.    Defendant terminated Plaintiff in retaliation for her taken medical leave that was

 necessary due to the stress and anxiety caused by Defendant.

          27.   Defendant’s conduct, including her termination, has caused Plaintiff mental and

 psychological anguish leading her to seek counseling.

          28.   Defendant’s conduct would cause a reasonable person to experience mental and

 psychological anguish.

          29.   Defendant’s behavior became sufficiently severe and pervasive to alter the

 conditions of Plaintiff’s employment.

          30.   Defendant’s behavior became sufficiently severe, pervasive and intolerable.

                             COUNT I
                      DEMAND FOR RELIEF
           FOR HARASSMENT ON THE BASIS OF RACE AND COLOR
    IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964 42
               U.S.C. §2000E ET SEQ., AND 42 U.S.C. §1981

         31.     Plaintiff restates and re-alleges paragraphs 1 through 3 0 , as paragraph 31 of this

 Count I.

          32.   By virtue of the foregoing, Defendants violated Title VII of the Civil Rights Act of

 1964, 42 U.S.C. Section 2000e et seq. and 42 U.S.C. Section 1981.
       33. 1:23-cv-16101
     Case:    As a result of Defendant’s
                          Document  #: 11unlawful employment
                                          Filed: 02/05/24 Pagepractices and disregard
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 Plaintiff’s rights and sensibilities, Plaintiff has suffered humiliation, degradation, emotional

 distress, lost wages, and other damages of both a pecuniary and non-pecuniary nature.

        34.        Defendants’ violations were taken with a willful and wanton disregard for

 Plaintiff’s rights under Title VII and 42 U.S.C. §1981, warranting the imposition of punitive and

 exemplary damages.

        WHEREFORE, Plaintiff, Dasia Dobbins, respectfully requests that this Honorable Court

 enter judgment in her favor and against all Defendants, for back pay, front pay, loss of benefits,

 compensatory and punitive damages, attorneys’ fees and costs, and for such other and further relief

 this Court deems just and equitable.

                                           COUNT II
                              DEMAND FOR RELIEF
          FOR RETALIATION ON THE BASIS OF RACE AND COLOR
      IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
              42 U .S.C. Section 2000E ET SEQ., AND 42 U.S.C. Section 1981

        35.        Plaintiff restates and re-alleges paragraphs 1 through 3 0 , as paragraph 3 5 of

 this Count II.

        36.       Defendant created and maintained a hostile work environment based on Plaintiff’s

 race/color that Plaintiff was forced to endure daily, including failure to promote and denial of

 overtime opportunities.

         37.       By virtue of the foregoing, Defendant violated Title VII of the Civil Rights Act of

 1964, 42 U.S.C. §2000e et seq. and 42 U.S.C. §1981.

         38.       As a result of Defendant’s unlawful employment practices and disregard for

 Plaintiff’s rights and sensibilities, Plaintiff has suffered humiliation, degradation, emotional

 distress, lost wages, and other damages of both a pecuniary and non-pecuniary nature.

        39.        Defendants’ violations were taken with a willful and wanton disregard for

Plaintiff’s rights under Title VII and 42 U.S.C. §1981, warranting the imposition of punitive and

exemplary damages.
          WHEREFORE,
        Case:           Plaintiff,
              1:23-cv-16101        Dasia Dobbins,
                            Document              respectfully
                                         #: 11 Filed: 02/05/24requests
                                                                Page 6that thisPageID
                                                                        of 11   Honorable
                                                                                      #:39Court

   enter judgment in her favor and against all Defendants, for back pay, front pay, loss of benefits,

   compensatory and punitive damages, attorneys’ fees and costs, and for such other and further relief

   this Court deems just and equitable.

                                        COUNT III
                                  DEMAND FOR RELIEF
             FOR WRONGFUL DISCHARGE ON THE BASIS OF RACE AND COLOR
              IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                        42 U.S.C. §2000E ET SEQ., AND 42 U.S.C. §1981

             40.    Plaintiff restates and re-alleges paragraphs 1 through 3 0 , as paragraph 4 0 of

this Count III.

             41.    By virtue of the foregoing, Plaintiff suffered harassment that no reasonable person

could expect to sustain, and which caused Plaintiff serious emotional distress, threats to her health

and causing Plaintiff to seek therapy.

             42.   Plaintiff was wrongfully terminated on January 21, 2022, based on Plaintiff’s race

and color.

             43.   By virtue of the foregoing, Defendant violated Title VII of the Civil Rights Act of

1964, 42 U.S.C. section 2000e et seq. and 42 U.S.C. section 1981.

             44.    As a result of Defendant’s unlawful employment practices and disregard for

 Plaintiff’s rights and sensibilities, Plaintiff has suffered humiliation, degradation, emotional

 distress, lost wages, and other damages of both a pecuniary and non-pecuniary nature.

             45.    Defendants’ violations were taken with a willful and wanton disregard for

 Plaintiff’s rights under Title VII and 42 U.S.C. §1981, warranting the imposition of punitive and

 exemplary damages.

             WHEREFORE, Plaintiff, D a s i a D o b b i n s , respectfully requests that this Honorable

   Court enter judgment in his favor and against all Defendants, for back pay, front pay, loss of benefits,

   compensatory and punitive damages, attorneys’ fees and costs, and for such other and further relief

   this Court deems just and equitable.
       Case: 1:23-cv-16101 Document #: COUNT
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                                                 02/05/24 Page 7 of 11 PageID #:40
                                DEMAND FOR RELIEF
                    FOR HARASSMENT ON THE BASIS OF GENDER
          IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
             42 U.S.C. SECTION 2000E ET SEQ., AND 42 U.S.C. SECTION 1981

          46.     Plaintiff restates and re-alleges paragraphs 1 through 3 0 , as paragraph 46 of

this Count IV.

          47.     By virtue of the foregoing, Defendant violated Title VII of the Civil Rights Act of

1964, 42 U.S.C. §2000e et seq. and 42 U.S.C. §1981.

          48.     As a result of Defendant’s unlawful employment practices and disregard for

Plaintiff’s rights and sensibilities, Plaintiff has suffered humiliation, degradation, emotional

distress, lost wages, and other damages of both a pecuniary and non-pecuniary nature.

          49.     Defendants’ violations were taken with a willful and wanton disregard for

Plaintiff’s rights under Title VII and 42 U.S.C. §1981, warranting the imposition of punitive and

exemplary damages.

          WHEREFORE, Plaintiff, Dasia Dobbins, respectfully requests that this Honorable Court

  enter judgment in her favor and against all Defendants, for back pay, front pay, loss of benefits,

  compensatory and punitive damages, attorneys’ fees and costs, and for such other and further relief

  this Court deems just and equitable.

                                       COUNT V
                                 DEMAND FOR RELIEF
           FOR RETALIATION ON THE BASIS OF GENDER IN VIOLATION OF
           TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                       42 .S.C. §2000E ET SEQ., AND 42 U.S.C. §1981

          50.     Plaintiff restates and re-alleges paragraphs 1 through 3 0 , as paragraph 50 of

this Count V.

          51.     Defendant created and maintained a hostile work environment based on Plaintiff’s

race/color that Plaintiff was forced to endure daily, including the denial of overtime opportunities.

          52.     By virtue of the foregoing, Defendant violated Title VII of the Civil Rights Act of

1964, 42 U.S.C. §2000e et seq. and 42 U.S.C. §1981.
            53. 1:23-cv-16101
          Case:    As a result of Defendant’s
                               Document  #: 11unlawful employment
                                               Filed: 02/05/24 Pagepractices and disregard
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Plaintiff’s rights and sensibilities, Plaintiff has suffered humiliation, degradation, emotional

distress, lost wages, and other damages of both a pecuniary and non-pecuniary nature.

            54.    Defendants’ violations were taken with a willful and wanton disregard for

Plaintiff’s rights under Title VII and 42 U.S.C. §1981, warranting the imposition of punitive and

exemplary damages.

            WHEREFORE, Plaintiff, Dasia Dobbins, respectfully requests that this Honorable Court

  enter judgment in her favor and against all Defendants, for back pay, front pay, loss of benefits,

  compensatory and punitive damages, attorneys’ fees and costs, and for such other and further relief

  this Court deems just and equitable.

                                      COUNT VI
                                DEMAND FOR RELIEF
            FOR WRONGFUL DISCHARGE ON THE BASIS OF GENDER IN
             VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                      42 U.S.C. §2000E ET SEQ., AND 42 U.S.C. §1981

            55.    Plaintiff restates and re-alleges paragraphs 1 through 3 0 , as paragraph 55 of

this Count VI.

            56.    By virtue of the foregoing, Plaintiff suffered harassment that no reasonable person

could expect to sustain, and which caused Plaintiff serious emotional distress and threats to his

health.

            57.    Plaintiff w a s w r o n g f u l l y t e r m i n a t e d O n J a n u a r y , 2 1 , 2 0 2 2 .

based on Plaintiff’s race and color.

            58.    By virtue of the foregoing, Defendant violated Title VII of the Civil Rights Act of

1964, 42 U.S.C. §2000e et seq. and 42 U.S.C. §1981.

            59.    As a result of Defendant’s unlawful employment practices and disregard for

Plaintiff’s rights and sensibilities, Plaintiff has suffered humiliation, degradation, emotional

distress, lost wages, and other damages of both a pecuniary and non-pecuniary nature.
         60. 1:23-cv-16101
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                            violations were
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                                                     02/05/24 Pageand
                                                                    9 of wanton disregard
                                                                         11 PageID  #:42 for

Plaintiff’s rights under Title VII and 42 U.S.C. §1981, warranting the imposition of punitive and

exemplary damages.

          WHEREFORE, Plaintiff, Dasia Dobbins, respectfully requests that this Honorable Court

  enter judgment in his favor and against all Defendants, for back pay, front pay, loss of benefits,

  compensatory and punitive damages, attorneys’ fees and costs, and for such other and further relief

  this Court deems just and equitable.

                                         COUNT VII
                                   DEMAND FOR RELIEF
                          FOR VIOLATION OF THE EQUAL PAY ACT,
                                 29 USC, CHAPTER 8 §206(d)

          61.      Plaintiff restates and re-alleges paragraphs 1 through 3 0 , as paragraph 61 of

this Count VII.

          62.      Plaintiff was paid wages at a lower rate or compensation than non-female

employees engaged in the same job.

          63.     By virtue of the foregoing, Defendant violated the Equal Pay Act, 29 U.S.C. Chapter

 8, section 206(d).

          64.      As a result of Defendant’s unlawful employment practices and disregard for

Plaintiff’s rights and sensibilities, Plaintiff has suffered humiliation, degradation, emotional

distress, lost wages, and other damages of both a pecuniary and non-pecuniary nature.

          65.      Defendants’ violations were taken with a willful and wanton disregard for

Plaintiff’s rights under the Equal Pay Act, 29 U.S.C. Chapter 8, section 206(d), warranting the

imposition of punitive and exemplary damages.

          WHEREFORE, Plaintiff, Dasia Dobbins, respectfully requests that this Honorable Court

  enter judgment in her favor and against all Defendants, for back pay, front pay, loss of benefits,

  compensatory and punitive damages, attorneys’ fees and costs, and for such other and further relief

  this Court deems just and equitable.

                              COUNT VIII
    DEMAND FOR RELIEF FOR INTERFERENCE WITH LEAVE RIGHTS IN
       VIOLAITON OF THE FAMILY AND MEDICAL LEAVE ACT
        Case: 1:23-cv-16101 Document #: 11 Filed: 02/05/24 Page 10 of 11 PageID #:43
          66. Plaintiff restates and realleges paragraphs 1 through 30 as paragraph 66 of this Count

VIII.

           67.   By virtue of the foregoing, Defendant interfered with Plaintiff’s right to take leave in

violation of the Family and Medical Leave Act by retaliating against Plaintiff for taken leave.

           68.   By virtue of the foregoing, Defendant discriminated against Plaintiff for having

sought leave under the Family and Medical Leave Act.

           69.   As a result of these violations, Plaintiff suffered damages.

              WHEREFORE, Plaintiff, Dasia Dobbins, respectfully requests that this Honorable

  Court enter judgment in her favor and against all Defendants, and award her backpay, front pay,

  pre and post judgment interest, liquidated damages, attorneys’ fees and costs, and such other

  and further relief as this Court deems just and equitable.

                        COUNT IX
    DEMAND FOR RELIEF FOR INTENTIONAL INFLICTION OF EMOTIONAL
                DISTRESSS AGAINST ALL DEFENDANTS

             70. Plaintiff restates and realleges paragraphs 1 through 30 as paragraph 7 of this Count

 IX.

             71. By virtue of the foregoing, Defendants, based upon t h e i r knowledge of

 Plaintiff’s vulnerabilities, intentionally and maliciously engaged in extreme and outrageous

 conduct calculated to cause Plaintiff severe emotional and physical distress.

             72. As a result of Defendant’s actions, Plaintiff suffered severe emotional and

 physical distress.


             73. Defendants Spizzirri and Caccucciolo were using their authority as supervisors

 for Defendant to intentionally cause Plaintiff severe emotional and physical distress, such that

 Defendant A l l i a n t is liable under the doctrine of respondeat superior.

             WHEREFORE, Plaintiff, Dasia Dobbins, respectfully requests that this Honorable

 Court enter judgment in his favor and against Spizzirri and Caccucciolo and A l l i a n t j ointly

 and severally award her compensatory and punitive damages, and such other and further relief

 as this Court deems just and equitable.
                     PLAINTIFF
    Case: 1:23-cv-16101 DocumentDEMANDS
                                 #: 11 Filed:A02/05/24
                                               TRIAL BY  JURY
                                                       Page 11 of 11 PageID #:44


                                            Respectfully submitted,
                                            Dasia Dobbins


                                           By: /s/ Tod Rottman
                                           Her Attorney


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